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                   UNITED STATES DISTRICT COURT

                           DISTRICT OF MAINE



THOMAS DAGGETT,                                )
                                               )
       Plaintiff                               )
                                               )
                                               )
       v.                                      )
                                               )
YORK COUNTY,                                   )
a Municipal Corporation                        )
organized and existing under the laws          )
of the State of Maine;                         )
WILLIAM KING individually and as Sheriff       )   Docket 18-CV-303-JAW
of York County; MICHAEL VITIELLO;              )
individually and as an employee of the York    )
County Sheriff’s Department; JOHN DOE 1;       )
Individually and as an employee of the York    )
County Jail; JOHN DOE 2, individually and as )
an employee of York County Jail; JOHN          )
DOE 3, individually and as an employee of      )
York County Jail; CORRECT CARE                 )
SOLUTIONS, LLC, a Limited Liability            )
Company; JANE DOE 1; individually and as an )
employee of Correct Care Solutions, LLC;       )
JANE DOE 2; individually and as an employee )
of Correct Care Solutions, LLC; TOWN OF        )
BERWICK, a municipality in the State of Maine; )
TIMOTHY TOWNE, Chief of the Berwick            )
Police Department; OFFICER ELI POORE;          )
individually and as an employee of the Town of )
Berwick;                                       )
                                               )
       Defendants                              )
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   PLAINTIFF’S AMENDED COMPLAINT AND DEMAND FOR JURY
                         TRIAL

      NOW COMES Plaintiff, Thomas Daggett, by and through counsel, Sarah

A. Churchill, Esq., and complains against Defendants as follows:

                                 JURISDICTION

      1.     This action arises under 42 United States Code (U.S.C.) §§ 1983,

1985, and 1988; the First, Fourth, Fifth, Eighth and Fourteenth Amendments to the

United States Constitution; Article 1 §§ 1, 6, 6-A and 9 of the Maine Constitution;

5 M.R.S.A. § 4682 (the Maine Civil Rights Act); 15 M.R.S.A. § 704; and 14

M.R.S.A. § 8101 et seq. (the Maine Tort Claims Act).

      2.     This Honorable Court has original jurisdiction of Plaintiff’s

Complaint pursuant to 28 U.S.C. §§ 1331 and 1343.

      3.     This Honorable Court may exercise supplemental jurisdiction over

related state law claims pursuant to 28 U.S.C. § 1367.

      4.     This Honorable Court wields jurisdiction over each Defendant named

herein pursuant to 14 M.R.S.A. § 704-A in that each Defendant is domiciled in the

State of Maine.

                                      VENUE

      5.     Venue is properly before this Court pursuant to 28 U.S.C. § 1391 and

Rule 9(a) of the rules of the United States District Court for the District of Maine

in that all acts complained of occurred in York County, Maine.

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                                    PARTIES

      6.    Plaintiff, Thomas Daggett, is a citizen of the United States and a

resident of the State of New Hampshire.

      7.    Defendant John Doe 1 was at all times mentioned herein a duly

appointed and acting as a corrections officer at the York County Jail in York

County Maine.

      8.    At all times herein John Doe 1 was acting in the capacity of agent,

servant, and employee of York County.

      9.    Defendant John Doe 2 was at all times mentioned herein a duly

appointed and acting as a corrections officer at the York County Jail in York

County Maine.

      10.   At all times herein John Doe 2 was acting in the capacity of agent,

servant, and employee of York County.

      11.   Defendant John Doe 3 was at all times mentioned herein a duly

appointed and acting as a corrections officer at the York County Jail in York

County Maine.

      12.   At all times herein John Doe 3 was acting in the capacity of agent,

servant, and employee of York County.




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       13.     At all times herein Defendant Jane Doe 1 was at all times mentioned

herein a duly appointed and acting employee of Defendant Correct Care Solutions,

LLC.

       14.     At all times herein Defendant Jane Doe 1 was acting in such capacity

of agent, servant, and employee of Correct Care Solutions, LLC.

       15.     At all times herein Defendant Jane Doe 2 was at all times mentioned

herein a duly appointed and acting employee of Defendant Correct Care Solutions,

LLC.

       16.     At all times herein Defendant Jane Doe 2 was acting in the capacity of

agent, servant and employee of Correct Care Solutions, LLC

       17.     Defendant William King was at all times referred to herein Sheriff of

York County.

       18.     The Sheriff of York County is responsible for running the York

County Jail.

       19.     Defendant King is responsible for the training, supervision, and

conduct of Defendant officers, as more fully set forth below.

       20.     Defendant King is further responsible for enforcing the regulations of

the York County Sheriff’s Department, making and enforcing police department

policies that protect the constitutional rights of citizens, and for ensuring that the




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correctional officers of the York County Jail obey the laws of the State of Maine

and the United States of America.

      21.    Defendant King is further responsible for ensuring that all inmates

received appropriate medical care in compliance with the laws of the State of

Maine and the United States Constitution.

      22.    Defendant County of York is a political subdivision of the State of

Maine and is a member of the Maine County Commissioners’ Association Risk

Pool which provides coverage for claims such as those mentioned herein.

      23.    The York County Jail is a correctional facility organized under the

administration of the laws of York County, the State of Maine and the United

States.

      24.    Defendant Michael Vitiello was at all times referred to herein the head

administrator of the York County Jail.

      25.    Defendant Vitiello’s supervisory responsibilities include oversight of

the corrections division of the York County Jail

      26.    Defendant Vitiello is responsible for the training, supervision, and

conduct of Defendant officers, as more fully set forth below.

      27.    Defendant Vitiello is further responsible for enforcing the regulations

of the York County Sheriff’s Department, making and enforcing jail and

correctional policies that protect the constitutional rights of citizens, and for



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ensuring that the correctional officers of the York County Jail obey the laws of the

State of Maine and the United States of America.

      28.      Defendant Vitiello is further responsible for ensuring that all inmates

received appropriate medical care in compliance with the laws of the State of

Maine and the United States Constitution.

      29.      Defendant Vitiello is also a policy maker for the York County Jail.

      30.      Defendant Correct Care Solutions, LLC is a corporation formed under

the laws of the State of Kansas with a registered agent in Portland, Maine.

      31.      Defendant Correct Care Solutions, LLC has been contracted with by

the York County Jail for the provision of medical care for the inmates of York

County Jail.

      32.      The conduct of defendants jointly, severally, individually, and in their

representative capacities, in allowing a custom and practice of inadequately

treating the known medical concerns of inmates caused grievous injury to Plaintiff

and deprived him of his rights, privileges and immunities under the Constitution of

the United States and the State of Maine.

      33.      Defendant Town of Berwick is a municipality formed under and

existing within the State of Maine.

      34.      Defendant Timothy Towne was the Chief of the Berwick Police

Department for all times relevant to this complaint.



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      35.    Defendant Towne’s supervisory responsibilities include oversight of

the Berwick Police Department.

      36.    Defendant Towne is responsible for the training, supervision, and

conduct of Defendant Poore, as more fully set forth below.

      37.    Defendant Towne is further responsible for enforcing the regulations

of the Berwick Police Department, making and enforcing police department

policies that protect the constitutional rights of citizens, and for ensuring that the

officers of the Berwick Police Department obey the laws of the State of Maine and

the United States of America.

      38.    Defendant Eli Poore was at all times relevant to this complaint a

sworn officer of the Berwick Police Department.

      39.    Defendant Poore was at all times relevant to this complaint acting as a

sworn agent and employee of Defendant Town of Berwick.

                             STATEMENT OF FACTS

      40.    On May 17, 2015 Plaintiff, Thomas Daggett, was traveling down

Cranberry Meadow Road in Berwick, Maine on his way home.

      41.    May 17, 2015 was a Sunday.

      42.    As Plaintiff passed by his former residence at 317 Cranberry Meadow

Road in Berwick he noticed a trash on the shoulder of the road just off the

pavement.



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       43.    Trash day on that street was not on Monday.

       44.    Plaintiff was in the process of getting a divorce from at this time and

his wife resided at the marital residence at 317 Cranberry Meadow Road.

       45.    At issue in the divorce was Plaintiff’s property which was still in his

wife’s possession and located at 317 Cranberry Meadow Road.

       46.    Plaintiff had a Protection from Abuse order in effect against him on

May 17, 2015 which prohibited him from entering the premises of 317 Cranberry

Meadow Road.

       47.    As part of the Protection from Abuse Order and the ongoing divorce

proceedings Plaintiff’s wife was prohibited from destroying or throwing away his

property.

       48.    Plaintiff stopped on the shoulder of the road in front of 317 Cranberry

Meadow Road and looking in the trash can.

       49.    Plaintiff discovered that his property was in the trash can.

       50.    Plaintiff proceeded to try to remove his property from the trash can

and put it into his car.

       51.    In this process the trash can tipped over and some of its contents

spilled into the ditch.

       52.    Plaintiff suffers from Parkinson’s.

       53.    Plaintiff was diagnosed with Parkinson’s around 2003.



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      54.      Plaintiff takes multiple medication to try and control his medical

condition.

      55.      Plaintiff’s medical condition of Parkinson’s qualifies as a disability

under state and federal law.

      56.      Plaintiff is also a diet controlled diabetic.

      57.      An unidentified individual inside 317 Cranberry Meadow Road called

the police to report that Plaintiff was on the shoulder of the road looking in the

garbage can.

      58.      Defendant Eli Poore was dispatched to the area and saw Plaintiff on

the shoulder of the road in front of 317 Cranberry Meadow Road.

      59.      Defendant Poore was made aware of Plaintiff’s medical condition.

      60.      Cranberry Meadow Road is a right of way owned by Defendant Town

of Berwick.

      61.      Defendant Town of Berwick defines the right of way as extending 25

feet on either side of the center of the roadway.

      62.      The right of way typically includes the telephone poles and ditches

that line the right of way.

      63.      Plaintiff remained in the right of way and never entered onto the

premises of 317 Cranberry Meadow Road on May 17, 2015.




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         64.   Because Plaintiff never left the right of way Plaintiff never violated

the Protection from Abuse order.

         65.   Despite these facts Defendant Poore arrested Plaintiff for Violation of

a Protective Order, a class D misdemeanor.

         66.   Defendant Poore was aware that Plaintiff was on certain medications

that needed to be administered every 90 minutes.

         67.   Defendant Poore transported Plaintiff to the Berwick Police

Department.

         68.   Plaintiff had his medications on his person at all times relevant to this

complaint until he was transported to the York County Jail.

         69.   At no time while Plaintiff was at the Berwick Police Department was

he allowed to take any of his medications.

         70.   Prior to taking Plaintiff to the York County Jail Defendant Poore

transported him to Southern Maine Medical Center.

         71.   Southern Maine Medical Center declared Plaintiff fit for incarceration

and gave Defendant Poore a list of the medications that Plaintiff needed.

         72.   Medical providers at Southern Maine Medical Center had direct

contact with personnel at the York County Jail about Plaintiff’s specific medical

needs.




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       73.   Failure to provide Plaintiff his required medications results in Plaintiff

entering a catatonic state where he is unable to move, communicate or even

swallow.

       74.   When Plaintiff arrived at the York County Jail he was refused

admittance due to his medical condition.

       75.   At some point the jail intake supervisor, John Doe 3, approached

Defendant Poore and indicated that if the hospital provided three days’ worth of

medication the York County Jail would take Plaintiff in.

       76.   Defendant Poore returned to Southern Maine Medical Center with

Plaintiff.

       77.   Southern Maine Medical Center provided some medication but could

not provide enough medication to Plaintiff to cover three days because they did not

have enough on hand.

       78.   Defendant Poore returned to the York County Jail and turned Plaintiff

over to jail staff with the medication provided from Southern Maine Medical

Center.

       79.   Defendant Correct Care Solutions, LLC had contracted with York

County to provide medical treatment to all inmates at York County Jail for all

times relevant to this complaint.




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       80.   As a matter of course Defendant Correct Care Solutions, LLC staff

obtain medical information and medication lists in order to treat inmates.

       81.   Part of Defendant Correct Care Solutions, LLC policy is to conduct a

physical medical assessment of every inmate within 24 hours of their arrival at the

facility.

       82.   Defendant Correct Care Solutions, LLC and its employees, i.e.

Defendant Jane Doe 1 and Jane Doe 2 medical staff at the York County Jail, failed

to conduct any medical assessment of Plaintiff and failed to administer any

medications to him during his stay at the York County Jail.

       83.   Defendants did not administer Plaintiff his necessary medications

while he was at the York County Jail on May 17, 2015 or May 18, 2015 despite the

fact that they knew Plaintiff required said medications.

       84.   As a result of their failure to medicate Plaintiff, Plaintiff

decompensated rapidly.

       85.   Plaintiff was unable to move and was render mostly catatonic as a

result of not having his medications.

       86.   Plaintiff was pushed onto a bed by correctional officers, John Doe 1

and John Doe 2, at the York County Jail and hit his head on a concrete wall

resulting in him sustaining a concussion.




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      87.    Defendants John Doe 1 and John Doe 2 pushed Plaintiff because he

wasn’t moving fast enough to get on the bed.

      88.    As a result of the concussion, which was complicated by Plaintiff’s

Parkinson’s diagnosis, Plaintiff suffered physical injuries that included a brain

injury, broken hip and other physical and emotional injuries.

      89.    Additionally, Plaintiff’s Parkinson’s disease rapidly progressed since

he suffered the concussion.

      90.    The York County Sheriff’s Department, which is responsible for the

training and supervision of the correctional officers, failed in its duty to either train

or supervise the Defendants as they were acting in their capacity as correctional

officers.

      91.    Defendant Correct Care Solutions, LLC and the York County Jail has

a pattern and practice of failing to provide adequate medical care to inmates,

including Plaintiff, as they are Constitutionally required.

      92.    The Town of Berwick and Chief Timothy Towne, who are responsible

for the training and supervision of Defendant Poore, failed in its duty to either train

or supervise the Defendants as they were acting in their capacity as police officers.




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                                       COUNT I

                         VIOLATION OF 42 U.S.C. § 1985

      93.    Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.

      94.    Defendants acted in concert and agreed to commit acts against the

Plaintiff to deny the protections guaranteed by the Fourth, Fifth, Eighth and

Fourteenth Amendments to the United States Constitution.

      95.    Defendants’ actions inflicted a wrong and/or injury upon Plaintiff that

resulted in damages.

      96.    Defendants’ actions showed a deliberate, malicious, reckless, or

callous disregard of, or indifference to, the rights of Plaintiff.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.



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      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.

                                     COUNT II

      VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT JOHN DOE 3

      97.    Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.

      98.    Defendant John Doe 3 unreasonably and/or intentionally committed

acts and/or omissions while acting under color of state law that violated Plaintiff’s

clearly established rights to bodily integrity, to be free from the use of excessive

force, and his right to an action to pursue a claim for the deprivation of these rights

as enumerated by the Fourth and Eighth Amendment to the United States

Constitution and Plaintiff’s analogous rights under the Maine Constitution.

      99.    Defendant John Doe 3 unreasonably and/or intentionally committed

acts and/or omissions while acting under the color of state law that violated

Plaintiff’s clearly established right to due process as enumerated by the Fifth,

Eighth and Fourteen Amendments to the United States Constitution and Plaintiff’s

analogous rights under the Maine Constitution.

      100. A reasonable person would have known that the acts and/or omission

committed by Defendant John Doe 3 violated Plaintiff’s rights as guaranteed by



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the Fourth, Fifth, Eighth and Fourteenth Amendments to the United States

Constitution.

      101. The unlawfulness of Defendant John Doe 3’s acts and/or omissions

was apparent at the time they were committed in light of pre-existing law.

      102. Defendant John Doe 3’s actions showed a deliberate, malicious,

reckless, or callous disregard of, or indifference to, the rights of Plaintiff.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.




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                                     COUNT III

   VIOLATION OF 42 U.S.C. § 1983 – DEFENDANTS JOHN DOE 1 AND

                                    JOHN DOE 2

      103. Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.

      104. Defendants John Doe 1 and John Doe 2 unreasonably and/or

intentionally committed acts and/or omissions while acting under color of state law

that violated Plaintiff’s clearly established rights to bodily integrity, to be free from

the use of excessive force, and his right to an action to pursue a claim for the

deprivation of these rights as enumerated by the Fourth and Eighth Amendment to

the United States Constitution and Plaintiff’s analogous rights under the Maine

Constitution.

      105. Defendants John Doe 1 and John Doe 2 unreasonably and/or

intentionally committed acts and/or omissions while acting under the color of state

law that violated Plaintiff’s clearly established right to due process as enumerated

by the Fifth and Fourteenth Amendments to the United States Constitution and

Plaintiff’s analogous rights under the Maine Constitution.

      106. A reasonable person would have known that the acts and/or omissions

committed by Defendant Hannon violated Plaintiff’s rights as guaranteed by the




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Fourth, Fifth, Eighth and Fourteenth Amendments to the United States

Constitution.

       107. The unlawfulness of Defendants John Doe 1 and John Doe 2’s acts

and/or omissions was apparent at the time they were committed in light of pre-

existing law.

       108. Defendants John Doe 1 and John Doe 2’s actions showed a deliberate,

malicious, reckless, or callous disregard of, or indifference to, the rights of

Plaintiff.

       WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

       a.       An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

       b.       Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

       c.       An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

       d.       Costs and attorneys fees to the extent allowable by law. See 42

U.S.C. § 1988.

       e.       Such further relief as the Court deems proper and just.



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                                     COUNT IV

    VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT CORRECT CARE

                                 SOLUTIONS, LLC

      109. Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs list above as fully set forth herein.

      110. The failure to hire, train and supervise employees along with the

policies, customs, and practices of Correct Care Solutions, LLC and its policy

makers comprise the cause of, and moving force behind the constitutional

violations at issue in this complaint.

      111. Defendant Correct Care Solutions, LLC knew of, or reasonable should

have known about, Plaintiff’s serious medical needs.

      112. Defendant Correct Care Solutions, LLC exhibited deliberate

indifference to Plaintiff’s serious medical needs which resulted in a rick of serious

damage to Plaintiff’s health and future functioning.

      113. Defendant Correct Care Solutions, LLC unreasonably and/or

intentionally committed acts and/or omissions while acting under the color of state

law that violated Plaintiff’s clearly established right to due process as enumerated

by the Fifth and Fourteenth Amendments to the United States Constitution and

Plaintiff’s analogous rights under the Maine Constitution.




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       114. A reasonable person would have known that the acts and/or omissions

committed by Defendant Correct Care Solutions, LLC violated Plaintiff’s rights as

guaranteed by the Fourth, Fifth, Eighth and Fourteenth Amendments to the United

States Constitution.

       115. The unlawfulness of Defendant Correct Care Solutions, LLC’s acts

and/or omissions was apparent at the time they were committed in light of pre-

existing law.

       116. Defendant Correct Care Solutions, LLC’s actions showed a deliberate,

malicious, reckless, or callous disregard of, or indifference to, the rights of

Plaintiff.

       WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

       a.       An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

       b.       Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

       c.       An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.




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      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.

                                     COUNT V

   VIOLATION OF 42 U.S.C. § 1983 – DEFENDANTS JANE DOE 1 AND

                                    JANE DOE 2

      117. Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.

      118. Defendants Jane Doe 1 and Jane Doe 2 unreasonably and/or

intentionally committed acts and/or omissions while acting under color of state law

that violated Plaintiff’s clearly established rights to bodily integrity and adequate

medical care, to be free from the use of excessive force and deliberate indifference

to an inmate’s health and safety, and his right to an action to pursue a claim for the

deprivation of these rights as enumerated by the Fourth and Eighth Amendment to

the United States Constitution and Plaintiff’s analogous rights under the Maine

Constitution.

      119. Defendants Jane Doe 1 and Jane Doe 2 knew of, or reasonable should

have known about Plaintiff’s serious medical needs.




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       120. Defendants Jane Doe 1 and Jane Doe 2 exhibited deliberate

indifference to Plaintiff’s serious medical needs which resulted in a rick of serious

damage to Plaintiff’s health and future functioning.

       121. Defendants Jane Doe 1 and Jane Doe 2 unreasonably and/or

intentionally committed acts and/or omissions while acting under the color of state

law that violated Plaintiff’s clearly established right to due process as enumerated

by the Fifth and Fourteenth Amendments to the United States Constitution and

Plaintiff’s analogous rights under the Maine Constitution.

       122. A reasonable person would have known that the acts and/or omissions

committed by Defendants Jane Doe 1 and Jane Doe 2 violated Plaintiff’s rights as

guaranteed by the Fourth, Fifth, Eighth and Fourteenth Amendments to the United

States Constitution.

       123. The unlawfulness of Defendants Jane Doe 1 and Jane Doe 2’s acts

and/or omissions was apparent at the time they were committed in light of pre-

existing law.

       124. Defendants Jane Doe 1 and Jane Doe 2’s actions showed a deliberate,

malicious, reckless, or callous disregard of, or indifference to, the rights of

Plaintiff.




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      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.

                                      COUNT VI

    VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT WILLIAM KING

      125. Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.

      126. Defendant King was at all times mentioned herein responsible as

Sheriff of York County for the recruitment, training, supervision, and discipline of

all other Defendants.




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      127. Defendant King was responsible for ensuring the provision of

adequate medical care for the inmates of York County Jail.

      128. The constitutional and statutory violations of Plaintiff’s rights

committed by all other Defendants were caused by the acts and/or omissions of

Defendant King, including, but not limited to, his grossly negligent policies,

customs and/or pattern of practice in recruitment, training, supervision, and

discipline of all other Defendants.

      129. Defendant King’s acts and/or omissions amount to deliberate, reckless

or callous indifference to the constitutional rights of others, including Plaintiff.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.



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      e.     Such further relief as the Court deems proper and just.

                                     COUNT VII

    VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT YORK COUNTY

      130. Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.

      131. The policy, customs and practices of York County and its policy

makers comprise the cause of and the moving force behind the constitutional

violations at issue in this complaint.

      132. At all relevant times Defendant King was a policy maker within the

York County Jail hierarchy.

      133. At all relevant times, Defendant King and the York County Jail

acquiesced in a custom, policy, or practice that violates clearly established

constitutional rights.

      134. At all relevant times Defendant Vitiello was a policy maker within the

York County Jail hierarchy.

      135. At all relevant times, Defendant Vitiello and the York County Jail

acquiesced in a custom, policy, or practice that violates clearly established

constitutional rights.

      136. Defendant York County Jail’s policies and customs caused the

deprivation of Plaintiff’s clearly established constitutional and statutory rights and



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are tantamount to reckless, callous, or deliberate indifference to the rights of

Plaintiff.

       137. Defendant York County Jail’s actions showed a malicious, reckless,

or callous disregard of, or indifference to, the rights of Plaintiff.

       WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

       a.    An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

       b.    Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

       c.    An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

       d.    Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.

       e.    Such further relief as the Court deems proper and just.

                                      COUNT VIII

      VIOLATION OF MAINE CIVIL RIGHTS ACT 5 M.R.S.A. § 4682

       138. Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.



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      139. Defendants intentionally attempted to interfere by physical force and

threats of physical force with the exercise and enjoyment of Plaintiff’s rights

secured by the United States and Maine Constitutions and the laws of the United

States and the State of Maine.

      140. The aforementioned acts of Defendants caused Plaintiff harm.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of facts

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law.

      e.     Such further relief as the Court deems proper and just.

                                      COUNT IX

                              CIVIL CONSPIRACY

      141. Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.



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          142. Defendants committed independently recognized torts contained

herein and/or violated Plaintiff’s clearly established statutory and constitutional

rights.

          143. Defendants acted in concert to commit aforementioned unlawful acts

through unlawful means and in bad faith.

          144. Defendants caused harm to Plaintiff.

          WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

          a.    An amount of damages deemed reasonable by the trier of facts

sufficient to compensate Plaintiff.

          b.    Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

          c.    An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

          d.    Costs and attorneys’ fees to the extent allowable by law.

          e.    Such further relief as the Court deems proper and just.




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                                      COUNT X

     VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT POORE FALSE

                                      ARREST

      145. Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.

      146. Defendant Eli Poore intended to and did confine Plaintiff.

      147. Plaintiff was conscious of the confinement.

      148. Plaintiff did not consent to the confinement.

      149. Defendant Poore had no privilege to cause the confinement.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of facts

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law.

      e.     Such further relief as the Court deems proper and just.



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                                      COUNT XI

 VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT POORE FAILURE TO

                                      PROTECT

         150. Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.

         151. Plaintiff was in the official custody of Defendant Eli Poore.

         152. Defendant Poore was aware that Plaintiff had a serious medical

condition.

         153. Defendant Poore turned Plaintiff over to the custody of the York

County Jail knowing that the York County Jail could not meet Plaintiff’s medical

needs.

         154. Defendant Poore had a duty to protect Plaintiff because Plaintiff was

in his custody.

         155. Defendant Poore failed in that duty.

         156. As a result of Defendant Poore’s failure Plaintiff suffered harm.

         WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

         a.    An amount of damages deemed reasonable by the trier of facts

sufficient to compensate Plaintiff.



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      b.     Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law.

      e.     Such further relief as the Court deems proper and just.

                                    COUNT XII

 VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT TOWN OF BERWICK

      AND DEFENDANT TOWNE FAILURE TO TRAIN/SUPERVISE

      157. Plaintiff herein incorporates each and every allegation and averment

contained in paragraphs listed above as fully set forth herein.

      158. Defendants Town of Berwick and Towne failed to adequately train

and supervise Defendant Poore.

      159. Defendant Towne is the chief policy maker and enforcer for

Defendant Town of Berwick.

      160. Defendants’ inadequacy was the result of deliberate indifference.

      161. Defendants’ actions caused Plaintiff harm.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:



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      a.     An amount of damages deemed reasonable by the trier of facts

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law.

      e.     Such further relief as the Court deems proper and just.

                                 JURY REQUEST

      Plaintiff hereby requests a jury trial.

Dated at Portland, Maine this 25th day of September, 2018.

                                                 By: Nichols & Churchill, PA

                                                 /s/ Sarah A. Churchill
                                                 Sarah A. Churchill, Esq.
                                                 Attorney for Plaintiff

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